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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS



  LYNDA CALDERON and JENNIFER YOUNG,
  individually and on behalf of all others similarly      Case No. 1:22-cv-03326
  situated,
                                                          Hon. Mary Rowland
                         Plaintiffs,

                 v.

  THE PROCTER & GAMBLE COMPANY,

                         Defendant.



           STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE


       All parties to this action stipulate to voluntarily dismiss this action with prejudice

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). The claims of putative class

members are dismissed without prejudice. Each side shall bear their own fees and costs (except

as otherwise agreed by the parties).




Date: March 1, 2024                                    Respectfully submitted,

                                                       By: /s/ Jonas Jacobson
                                                       Jonas Jacobson

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